Case 1:17-cv-00263-GJQ-PJG ECF No. 50 filed 06/11/18 PageID.1057 Page 1 of 3




                            UNITED STATES COURT OF APPEALS
                                 FOR THE SIXTH CIRCUIT
                                 100 EAST FIFTH STREET, ROOM 540
   Deborah S. Hunt              POTTER STEWART U.S. COURTHOUSE                  Tel. (513) 564-7000
       Clerk                        CINCINNATI, OHIO 45202-3988                www.ca6.uscourts.gov




                                                  Filed: June 11, 2018


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Warner, Norcross & Judd
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                     Re: Case No. 18-1666, Dawn Bachi-Reffitt v. Kevin Reffitt, et al
                         Originating Case No. : 1:17-cv-00263

Dear Counsel:

   This appeal has been docketed as case number 18-1666 with the caption that is enclosed on a
separate page. The appellate case number and caption must appear on all filings submitted to the
Court. If the filing fee was not paid when the notice of appeal was filed, it must be paid to the
district court immediately.

   Before preparing any documents to be filed, counsel are strongly encouraged to read the Sixth
Circuit Rules at www.ca6.uscourts.gov. If you have not established a PACER account and
registered with this court as an ECF filer, you should do so immediately. Your password for
district court filings will not work in the appellate ECF system.

    At this stage of the appeal, the following forms should be downloaded from the web site and
filed with the Clerk's office by June 25, 2018. Additionally, the transcript order must be
completed by that date.

NOTE: Effective July 18, 2016, all attorneys must order transcript for appeal by using the
CM/ECF docket entries. The transcript order form used prior to that date will not be accepted
after July 18. For further information and instructions on ordering transcript electronically,
please visit the court's website.
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                   Appellant:    Appearance of Counsel
                                 Civil Appeal Statement of Parties & Issues
                                 Disclosure of Corporate Affiliations
                                 Application for Admission to 6th Circuit Bar (if applicable)

                   Appellee:     Appearance of Counsel
                                 Disclosure of Corporate Affiliations
                                 Application for Admission to 6th Circuit Bar (if applicable)

    More specific instructions are printed on each form. If appellant's initial forms are not timely
filed or necessary fees paid, the appeal will be dismissed for want of prosecution. If you have
questions after reviewing the forms and the rules, please contact the Clerk's office for assistance.

                                                  Sincerely yours,

                                                  s/Amy E. Gigliotti
                                                  Case Manager
                                                  Direct Dial No. 513-564-7012


Enclosure
Case 1:17-cv-00263-GJQ-PJG ECF No. 50 filed 06/11/18 PageID.1059 Page 3 of 3



            OFFICIAL COURT OF APPEALS CAPTION FOR 18-1666




DAWN M. BACHI-REFFITT

         Plaintiff - Appellant

v.

KEVIN REFFITT; RONALD REFFITT, SR.; KAREN WIERENGA; PENCON, INC.

         Defendants - Appellees
